 

Case 3:17-cv-00072-NKM-JCH Document 1162 Filed 10/04/21 Page 1lof3 Pageid#: 19867
IN THE UNITED STATES DISTRICT COURT FOR THE

CLERK'S OFFICE U.S. DIST. COURT
WESTERN DISTRICT OF VIRGINIA AT CHARLOTTESVILE, VA
FILED
Charlottesville Division .
OCT 04 2021
Elizabeth Sines, et al ac. DUDL

 
  

 

Plaintiffs
Vv Case No: 3:17-cv-072-WKM
Jason Kessler, et al

Defendants

SECOND AND EMERGENCY MOTION TO EXTEND ALL TRIAL AND
PRETRIAL SCHEDULE DATES BY TWELVE MONTHS AND TO REOPEN
DISCOVERY

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Comes now the Defendant, Christopher Cantwell, and, he Moves this Court
for the Second time to Extend All Trial and Pretrial Schedule Dates By

Twelve Months And To Reopen Discovery. In support, he states as follows:

1) On September 2, 2021, Cantwell mailed to the Court by certified

mail #7021 0350 0000 6940 9720 his first motion to extend the trial
and pretrial dates in this matter by twelve months based on the fact
that Plaintiffs did not serve him with all discovery in this matter,
that he has not received all of Plaintiffs' legal pleadings in this
matter, and, that the US Marshals Service ("USMS") and Bureau of
Prisons ("BOP") have denied him access to what material he has re-
ceived so that he has not been able to fully and fairly litigate

this matter and cannot prepare for trial.

2) As of today, September 21, 2021, certified mail #7021 0350 0000
6940 9770 has been “out for delivery" since September 11, 2021, and

has apparently neither reached the Court nor been docketed.

3) As per the attached Second Sworn Declaration Of Christopher Cantwell

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4)

5)

as to Extension of Time, Cantwell's situation has not materially

improved.

Cantwell has recently filed a list of objections to the Plaintiffs!
witness list. He has not received any Defendants' witness lists,
and, he has not received Plaintiffs' proposed exhibits. Cantwell
has also moved to exclude from trial depositions of several persons
whom he can now aver he was not timely noticed regarding their de-
positions. Generally, about 80% of the Plaintiffs! witnesses were
not disclosed and are barred from testifying at this time. Further,
if Cantwell knew what the Plaintiffs! proposed exhibits were, he

would be making similar objections to their admissibility.

Because Cantwell has been deprived of discovery, not served with
most of the legal filings in this matter since January 2020, and,
not noticed of Plaintiffs’ witnesses and exhibits, this Court cannot
lawfully allow this matter to go to trial against Cantwell. Either
the jury will have to be instructed that almost all of the evidence
and testimony is not admissible against him, this Court will have

to dismiss him as a Defendant, this matter will have to be continued

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or, any judgment entered adverse to him will not survive appeal.

Thus, for good cause shown, Cantwell moves this Court to grant his

Second and Emergency Motion To Extend All Trial And Pretrial Schedule

Dates by Twelve Months And To Reopen Discovery.

Respectfully Submitted,

C (yp@t@E

Christoptér Cantwell
USP-Marion

PO Box 1000

Marion, IL 62959
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I hereby certify that this Second And Emergency Motion To Extend All
Trial And Pretrial Schedule Dates By Twelve Months And To Reopen Disc-
overy was mailed to the Clerk of the Court for posting upon the ECF,
to which the other parties are subscribed, lst Class Postage prepaid,

| and, handed to USP-Marion staff members Nathan Simpkins and/or Kathy

Hill for electronic transmission to the Court this 24th day of Septemb-

Cae

Christopher Cantwell

er, 2021.

 

 
